  Case 3:22-bk-31842-SHB             Doc 101 Filed 06/26/23 Entered 06/26/23 14:34:21                  Desc
                                      Main Document    Page 1 of 2




SO ORDERED.
SIGNED this 26th day of June, 2023


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




   _____________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                            NORTHERN DIVISION AT KNOXVILLE

   IN RE:

            ROBERT LEE WILLIAMS                                    Case No. 3:22-BK-31842-SHB
                                                                         Chapter 7


                           Debtor.


                                  ORDER APPROVING SETTLEMENT
            Ryan E. Jarrard, Trustee, moved the Court for authority to compromise a dispute between

   the Debtor and the Trustee. No objections were filed within the required notice period. Based upon

   the facts presented, the court is of the opinion that the settlement is in the best interests of the estate.

   The trustee may compromise the dispute with the debtor for $25,000.00 pursuant to the terms laid

   out in the underlying motion. Payment shall be made no later than 30 days following entry of the

   order.

                                                         ###
Case 3:22-bk-31842-SHB   Doc 101 Filed 06/26/23 Entered 06/26/23 14:34:21   Desc
                          Main Document    Page 2 of 2



 APPROVED FOR ENTRY:


 /S/ Ryan E. Jarrard
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                                Page 2 of 2
